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              Exhibit 13
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                                                                          DemocracyDies in Dark.-ness




             Transfer of Power           Biden Cabinet       The Biden Agenda v          Facts on election integrity   Electoral college vote   lnaugurat


 Home
             Politics

  c!J
 Share
             Here's the full transcript and audio
  p
  S.Sk
             of the call between Trump and
             Raff ensperger
                                                                                                                                                            [l>X




             Listen to the full Jan. 2 phone call. This audio has been edited to remove the name of an
             individual about whom the president makes unsubstantiated allegations. (Obtained by The
             Washington Post)


             By Amy Gardner and Paulina Firozi

             Jan. 3, 2021 at 9:15 p.m. GMT
                                                                                     +    Add to list




             About 3 p.m. Saturday, President Trump held an hour-long
             call with Brad Raffensperger, Georgia's secretary of state,


Document title: Transcript and audio: Trump call with Georgia Sec. of State Brad Raffensperger - The Washington Post
Capture URL: https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html
Capture timestamp (UTC): Tue, 05 Jan 2021 15:07:58 GMT                                                                                               Page 1 of 44
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 Home
             About 3 p.m. Saturday, President Trump held an hour-long
             call with Brad Raffensperger, Georgia's secretary of state,
             in which he repeatedly urged him to alter the outcome of the
 Share

             presidential vote in the state. He was joined on the call by
  P          White House Chief of Staff Mark Meadows and several
  S.Sk
             lawyers, including longtime conservative attorney Cleta
             Mitchell and Georgia-based attorney Kurt Hilbert.
             Raffensperger was joined by his office's general counsel,
             Ryan Germany, and DeputtJ Secretary of State Jordan
             Fuchs.

             The Washington Post obtained a copy of a recording of the
             call. This transcript has been edited to remove the name of
             an individual about whom Trump makes unsubstantiated
             claims.
                                                                                                          __      Extra 50-60% Off All Rugs
             Meadows: Okay. Alright. Mr. President, eve1yone is on the                                            eSaleRugs.com


             line. This is Mark Meadows, the chief of staff. Just so we all
             are aware. On the line is secreta1y of state and two other
             individuals. Jordan and Mr. Germany with him. You also                                       Most Read Politics
             have the attorneys that represent the president, Kurt and
             Alex and Cleta Mitchell - who is not the attorney of record
             but has been involved - myself and then the president. So
             Mr. President, I'll turn it over to you.




                                     Top News Channels.                                                     Here's the full transcript and
                                                                                                          1 audio of the call between
                                                                                                               Trump and Raffensperger


                                    Ofl
                                                                                                          2    Georgia runoff live   •.
                                                                                                               updates: Control of
                                                                                                               the U.S. Senate
                                                                                                               hangs in the balance as
                                                                                                               polls open


                                                                                                          ~    Cleta Mitchell. a kev




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                                                                                                              hangs in the balance as
                                                                                                              polls open
 Home

                                                                                                          3   Cleta Mitchell, a key
                                                                                                              figure in president's
  c!J                                                                                                         phone call, was an
 Share
                                                                   Truntp: Okay, thank                        early backer of Trump's
                                                                                                              election fraud claims
  p                                                                you ve1y much. Hello
  S.Sk
                                                                   Brad and Ryan and                     4    Trump sabotaging
                                                                                                              GOP on hiswayout
                                                                   eve1ybody. We
                                                                                                              of office with push
                                                                   appreciate the time and                    to overturn election

                                                                   the call. So we've spent
             President Trump had an hour-long conversation
                                                                                                          5   'I just want to find
             with the Georgia secretary of state Saturday. (Alex
                                                                   a lot of time on this,                     11,780 votes': In
             Edelman/Getty Images)                                                                            extraordinary hour-
                                                                   and if we could just go                    long call, Trump
                                                                                                              pressures Georgia
                                                                   over some of the
                                                                                                              secretary of state to
             numbers, I think it's pretty clear that we won. We won ve1y                                      recalculate the vote in
                                                                                                              his favor
             substantially in Georgia. You even see it by rally size, frankly.
             We'd be getting 25-30,000 people a rally, and the
             competition would get less than 100 people. And it never                                                                                   [l>X

             made sense.

             But we have a number of things. We have at least 2 or 3 -
             anywhere from 250 to 300,000 ballots were dropped
             mysteriously into the rolls. Much of that had to do with
             Fulton County, which hasn't been checked. We think that if
             you check the signatures - a real check of the signatures
             going back in Fulton County - you'll find at least a couple of
             hundred thousand of forged signatures of people who have
             been forged. And we are quite sure that's going to happen.

             Another tremendous number. We're going to have an
             accurate number over the next two days with certified
             accountants. But an accurate number will be given, but it's in
             the 50s of thousands - and that's people that went to vote
             and they were told they can't vote because they've already
             been voted for. And it's a ve1y sad thing. They walked out



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                                                                    DemocracyDies in Dark.-ness

                5                               p p
             and they were told they can't vote because they've already
 Home        been voted for. And it's a ve1y sad thing. They walked out
             complaining. But the number's large. We'll have it for you.
  c!J
 Share       But it's much more than the number of 11,779that's - the
             current margin is only 11,779.Brad, I think you agree with
  p
  S.Sk
             that, right? That's something I think eve1yone - at least
             that's a number that everyone agrees on.


                                                                                              [l>X




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             But that's the difference in the votes. But we've had hundreds                              The 5-Minute Fix newsletter
                                                                                                         Your weekday afternoon cheat sheet on
             of thousands of ballots that we're able to actually - we'll get
                                                                                                         the biggest stories in politics - that can
             you a pretty accurate number. You don't need much of a                                      be read in 5 minutes or less.

             number because the number that in theo1y I lost by, the
             margin would be 11,779. But you also have a substantial
                                                                                                          11/@I
                                                                                                          By signing up you agree to our Terms of Use and
                                                                                                          PrivaCY.Poli£)(
             numbers of people, thousands and thousands, who went to
             the voting place on November 3, were told they couldn't vote,
             were told they couldn't vote because a ballot had been put on
             their name. And you know that's very, very, ve1y, ve1y sad.

             We had, I believe it's about 4,502 voters who voted but who
             weren't on the voter registration list, so it's 4,502 who voted,
             but they weren't on the voter registration roll, which they had
             to be. You had 18,325 vacant address voters. The address was
             vacant, and they're not allowed to be counted. That's 18,325.

             Smaller number - you had 904 who only voted where they


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             to be. You had 18,325 vacant address voters. The address was
             vacant, and they're not allowed to be counted. That's 18,325.
 Home

             Smaller number - you had 904 who only voted where they
             had just a P.O. - a post office box number - and they had a
 Share

             post office box number, and that's not allowed. We had at
  P          least 18,000 - that's on tape, we had them counted ve1y
  S.Sk
             painstakingly-        18,000 voters having to do with [name].
             She's a vote scammer, a professional vote scammer and
             hustler [name]. That was the tape that's been shown all over
             the world that makes everybody look bad, you, me and
             eve1ybody else.


                                                                                           [l>X




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             Where they got - number one they said ve1y clearly and it's
             been repo1ted that they said there was a major water main
             break. Eve1ybody fled the area. And then they came back,
             [name] and her daughter and a few people. There were no
             Republican poll watchers. Ach1ally,there were no Democrat
             poll watchers, I guess they were them. But there were no                                     0   Podcast

             Democrats, either, and there was no law enforcement. Late in                                 Post Reports

             the morning, early in the morning, they went to the table with                               The Washington Post's       •
                                                                                                          daily pod cast:
             the black robe and the black shield, and they pulled out the                                 unparalleled reports,              1
                                                                                                          expert insight, clear
             votes. Those votes were put there a number of hours before -                                 analysis. For your ears.

             the table was put there - I think it was, Brad, you would                                   Add to Apple Podcasts, Google
                                                                                                         Podcasts
             know, it was probably eight hours or seven hours before, and



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                                                                    DemocracyDies in Dark.-ness

             votes. Those votes were put there a number of hours before -                                 analysis. For your ears.

             the table was put there - I think it was, Brad, you would                                   Add to Apple Podcasts, Google
                                                                                                         Podcasts
 Home        know, it was probably eight hours or seven hours before, and
             then it was sh1ffed with votes.
  c!J
 Share

             They weren't in an official voter box; they were in what
  p          looked to be suitcases or trunks, suitcases, but they weren't in
  S.Sk
             voter boxes. The minimum number it could be because we
             watched it, and they watched it ce1tified in slow motion
             instant replay if you can believe it, but slow motion, and it
             was magnified many times over, and the minimum it was
             18,000      ballots, all for Eiden.

             You had out-of-state voters. They voted in Georgia, but they
             were from out of state, of 4,925. You had absentee ballots
             sent to vacant, they were absentee ballots sent to vacant
             addresses. They had nothing on them about addresses, that's
             2,326.


                                                                                             ll>X




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             And you had dropboxes, which is ve1y bad. You had
             dropboxes that were picked up. We have photographs, and
             we have affidavits from many people.

             I don't know if you saw the hearings, but you have dropboxes
             where the box was picked up but not delivered for three days.
             So all sorts of things could have happened to that box,



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             I don't know if you saw the hearings, but you have dropboxes
  (;)        where the box was picked up but not delivered for three days.
 Home
             So all sorts of things could have happened to that box,
  c!J        including, you know, putting in the votes that you wanted. So
 Share
             there were many infractions, and the bottom line is, many,
  p          many times the 11,779margin that they said we lost by- we
  S.Sk
             had vast, I mean the state is in h1rmoil over this.

             And I know you would like to get to the bottom of it, although
             I saw you on television today, and you said that you found
             nothing wrong. I mean, you know, and I didn't lose the state,
             Brad. People have been saying that it was the highest vote
             ever. There was no way. A lot of the political people said that
             there's no way they beat me. And they beat me. They beat me
             in the ... As you know, every single state, we won eve1y state.
             We won eve1y statehouse in the countly. We held the Senate,
             which is shocking to people, although we'll see what happens
             tomorrow or in a few days.


                                                                                             ll>X




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             And we won the House, but we won eve1y single statehouse,
             and we won Congress, which was supposed to lose 15 seats,
             and they gained, I think 16 or 17 or something. I think there's
             a now difference of five. There was supposed to be a
             difference substantially more. But politicians in eve1y state,
             but politicians in Georgia have given affidavits and are going


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                          -                                              -
             a now difference of five. There was supposed to be a
  (;)        difference substantially more. But politicians in every state,
 Home
             but politicians in Georgia have given affidavits and are going
  c!J        to that, that there was no way that they beat me in the
 Share
             election, that the people came out, in fact, they were
  p          expecting to lose, and then they ended up winning by a lot
  S.Sk
             because of the coattails. And they said there's no way, that
             they've done many polls prior to the election, that there was
             no way that they won.

             Ballots were dropped in massive numbers. And we're trying
             to get to those numbers and we will have them.

             They'll take a period of time. Certified. But but they're
             massive numbers. And far greater than the 11,779.




                                                \Vantto Retire?TakeThis
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             The other thing, dead people. So dead people voted, and I
             think the number is close to          5,000    people. And they went to
             obituaries. They went to all sorts of methods to come up with
             an accurate number, and a minimum is close to about                       5,000

             voters.

             The bottom line is, when you add it all up and then you start
             adding, you know,        300,000      fake ballots. Then the other thing
             they said is in Fulton County and other areas. And this may



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                                               y                    p                 y
             adding, you know, 300,000               fake ballots. Then the other thing
 Home        they said is in Fulton County and other areas. And this may
             or may not be true ... this just came up this morning, that
  c!J
 Share       they are burning their ballots, that they are shredding,
             shredding ballots and removing equipment. They're changing
  p
  S.Sk       the equipment on the Dominion machines and, you know,
             that's not legal.


             And they supposedly shredded I think they said 300 pounds
             of, 3,000    pounds of ballots. And that just came to us as a
             repo1t today. And it is a ve1y sad situation.




                                                   \Vant to Retire? Take This
                                                   Quiz First
                                                   Calculate your time to retirement with
                                                   this quiz

                                                   See More




             But Brad, if you took the minimum numbers where many,
             many times above the 11,779, and many of those numbers are
             certified, or they will be certified, but they are certified. And
             those are numbers that are there, that e.>..ist.And that beat the
             margin of loss, they beat it, I mean, by a lot, and people
             should be happy to have an accurate count instead of an
             election where there's turmoil.

             I mean there's turmoil in Georgia and other places. You're
             not the only one, I mean, we have other states that I believe
             will be flipping to us ve1y sho1tly. And this is something that
             - you know, as an example, I think it in Detroit, I think
             there's a section, a good section of your state actually, which


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             will be flipping to us ve1y sho1tly. And this is something that

 Home
             - you know, as an example, I think it in Detroit, I think
             there's a section, a good section of your state actually, which
  c!J        we're not sure so we're not going to repo1t it yet. But in
 Share

             Detroit, we had, I think it was, 139 percent of the people
  p          voted. That's not too good.
  S.Sk


             In Pennsylvania, they had well over               200,000     more votes than
             they had people voting. And that doesn't play too well, and
             the legislature there is, which is Republican, is extremely
             activist and ang1y. I mean, there were other things also that
             were almost as bad as that. But they had as an example, in
             Michigan, a tremendous number of dead people that voted. I
             think it was, I think, Mark, it was          18,000.     Some unbelievably
             high number, much higher than yours, you were in the 4-
             5,000    catego1y.




             And that was checked out laboriously by going through, by
             going through the obituaiy columns in the newspapers.

             So I guess with all of it being said, Brad, the bottom line, and
             provisional ballots, again, you know, you'll have to tell me
             about the provisional ballots, but we have a lot of people that
             were complaining that they weren't able to vote because they
             were already voted for. These are great people.



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             about the provisional ballots, but we have a lot of people that
  (;)        were complaining that they weren't able to vote because they
 Home
             were already voted for. These are great people.
  c!J
 Share       And, you know, they were shellshocked. I don't know if you
             call that provisional ballots. In some states, we had a lot of
  p
  S.Sk       provisional ballot situations where people were given a
             provisional ballot because when they walked in on November
             3 and they were already voted for.

             So that's it. I mean, we have many, many times the number of
             votes necessary to win the state. And we won the state, and
             we won it ve1y substantially and easily, and we're getting, we
             have, much of this is a very certified, far more certified than
             we need. But we're getting additional numbers certified, too.
             And we're getting pictures of dropboxes being delivered and
             delivered late. Delivered three days later, in some cases, plus
             we have many affidavits to that effect.

             [Election results under attack: Here are the facts]

             Meadows: So, Mr. President, if I might be able to jump in,
             and I'll give Brad a chance. Mr. Secreta1y, obviously there is,
             there are allegations where we believe that not eve1y vote or
             fair vote and legal vote was counted, and that's at odds with
             the representation from the secretaiy of state's office.

             What I'm hopeful for is there some way that we can, we can
             find some kind of agreement to look at this a little bit more
             fully? You know the president mentioned Fulton County.

             But in some of these areas where there seems to be a
             difference of where the facts seem to lead, and so Mr.
             Secretaiy, I was hopeful that, you know, in the spirit of
             cooperation and compromise, is there something that we can
             at least have a discussion to look at some of these allegations


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             Secretaiy, I was hopeful that, you know, in the spirit of

 Home
             cooperation and compromise, is there something that we can
             at least have a discussion to look at some of these allegations
  c!J
 Share
             to find a path fo1ward that's less litigious?


  p          Raffensperger:          Well, I listened to what the president has
  S.Sk
             just said. President Trump, we've had several lawsuits, and
             we've had to respond in court to the lawsuits and the
             contentions. We don't agree that you have won. And we don't
             - I didn't agree about the         200,000      number that you'd
             mentioned. I'll go through that point by point.

             What we have done is we gave our state Senate about one and
             a half hours of our time going through the election issue by
             issue and then on the state House, the government affairs
             committee, we gave them about two and a half hours of our
             time, going back point by point on all the issues of
             contention. And then just a few days ago, we met with our
             U.S. congressmen, Republican congressmen, and we gave
             them about two hours of our time talking about this past
             election. Going back, primarily what you've talked about here
             focused in on primarily, I believe, is the absentee ballot
             process. I don't believe that you're really questioning the
             Dominion machines. Because we did a hand re-tally, a 100
             percent re-tally of all the ballots, and compared them to what
             the machines said and came up with virtually the same result.
             Then we did the recount, and we got virtually the same result.
             So I guess we can probably take that off the table.

             I don't think there's an issue about that.

             Trump: Well, Brad. Not that there's not an issue, because we
             have a big issue with Dominion in other states and perhaps in
             yours. But we haven't felt we needed to go there. And just to,
             you know, maybe put a little different spin on what Mark is


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             have a big issue with Dominion in other states and perhaps in
             yours. But we haven't felt we needed to go there. And just to,
 Home

             you know, maybe put a little different spin on what Mark is
  c!J        saying, Mark Meadows, yeah we'd like to go further, but we
 Share
             don't really need to. We have all the votes we need.
  p
  S.Sk
             You know, we won the state. If you took, these are the most
             minimal numbers, the numbers that I gave you, those are
             numbers that are ce1tified, your absentee ballots sent to
             vacant addresses, your out-of-state voters, 4,925. You know
             when you add them up, it's many more times, it's many times
             the 11,779number. So we could go through, we have not gone
             through your Dominion. So we can't give them blessing. I
             mean, in other states, we think we found tremendous
             corruption with Dominion machines, but we'll have to see.

             But we only lost the state by that number, 11,000 votes, and
             779. So with that being said, with just what we have, with just
             what we have, we're giving you minimal, minimal numbers.
             We're doing the most conservative numbers possible; we're
             many times, many, many times above the margin. And so we
             don't really have to, Mark, I don't think we have to go
             through ...

             Meadows: Right

             Truntp: Because what's the difference between winning the
             election by two votes and winning it by half a million votes. I
             think I probably did win it by half a million. You know, one of
             the things that happened, Brad, is we have other people
             coming in now from Alabama and from South Carolina and
             from other states, and they're saying it's impossible for you to
             have lost Georgia. We won. You know in Alabama, we set a
             record, got the highest vote ever. In Georgia, we set a record
             with a massive amount of votes. And they say it's not possible



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             have lost Georgia. We won. You know in Alabama, we set a
  (;)        record, got the highest vote ever. In Georgia, we set a record
 Home
             with a massive amount of votes. And they say it's not possible
  c!J        to have lost Georgia.
 Share


             And I could tell you by our rallies. I could tell you by the rally
  p
  S.Sk       I'm having on Monday night, the place, they already have
             lines of people standing out front waiting. It's just not
             possible to have lost Georgia. It's not possible. When I heard
             it was close, I said there's no way. But they dropped a lot of
             votes in there late at night. You know that, Brad. And that's
             what we are working on ve1y, ve1y stringently. But regardless
             of those votes, with all of it being said, we lost by essentially
             11,000      votes, and we have many more votes already
             calculated and ce1tified, too.

             And so I just don't know, you know, Mark, I don't know
             what's the purpose. I won't give Dominion a pass because we
             found too many bad things. But we don't need Dominion or
             anything else. We have won this election in Georgia based on
             all of this. And there's nothing wrong with saying that, Brad.
             You know, I mean, having the correct - the people of Georgia
             are angry. And these numbers are going to be repeated on
             Monday night. Along with others that we're going to have by
             that time, which are much more substantial even. And the
             people of Georgia are ang1y, the people of the countly are
             ang1y. And there's nothing wrong with saying that, you know,
             that you've recalculated. Because the 2,236 in absentee
             ballots. I mean, they're all exact numbers that were done by
             accounting firms, law firms, etc. And even if you cut 'em in
             half, cut 'em in half and cut 'em in half again, it's more votes
             than we need.

             Raffensperger:          Well, Mr. President, the challenge that you
             have is the data you have is wrong. We talked to the


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             than we need.


 Home
             Raffensperger:          Well, Mr. President, the challenge that you
             have is the data you have is wrong. We talked to the
  c!J        congressmen, and they were surprised.
 Share



  p          But they - I guess there was a person named Mr. Braynard
  S.Sk
             who came to these meetings and presented data, and he said
             that there was dead people, I believe it was upward of 5,000.
             The actual number were two. Two. Two people that were
             dead that voted. So that's wrong.

             Truntp: Well, Cleta, how do you respond to that? Maybe you
             tell me?

             Mitchell: Well, I would say, Mr. Secreta1y, one of the things
             that we have requested and what we said was, if you look, if
             you read our petition, it said that we took the names and
             bilth years, and we had certain information available to us.
             We have asked from your office for records that only you
             have, and so we said there is a universe of people who have
             the same name and same birth year and died.

             But we don't have the records that you have. And one of the
             things that we have been suggesting formally and informally
             for weeks now is for you to make available to us the records
             that would be necessaiy -

             [Cleta Mitchell1 a key figure in president's phone call, was an
             early backer of Trwnp's election fraud claims]

             Trump: But, Cleta, even before you do that, and not even
             including that, that's why I hardly even included that
             number, although in one state, we have a tremendous
             amount of dead people. So I don't know - I'm sure we do in
             Georgia, too. I'm sure we do in Georgia, too.



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                                  g
             amount of dead people. So I don't know - I'm sure we do in
 Home        Georgia, too. I'm sure we do in Georgia, too.

  c!J        But we're so far ahead. We're so far ahead of these numbers,
 Share
             even the phony ballots of [name] , known scammer. You
  p          know the Internet? You know what was trending on the
  S.Sk
             Internet? "v\There's[name]?" Because they thought she'd be
             in jail. "Where's [name]?" It's crazy, it's crazy. That was. The
             minimum number is 18,000               for [name] , but they think it's
             probably about       56,000,    but the minimum number is               18,000

             on the [name] night where she ran back in there when
             eve1ybody was gone and stuffed, she stuffed the ballot boxes.
             Let's face it, Brad, I mean. They did it in slow motion replay
             magnified, right? She stuffed the ballot boxes. They were
             stuffed like nobody has ever seen them stuffed before.

             So there's a term for it when it's a machine instead of a ballot
             box, but she stuffed the machine. She stuffed the ballot. Each
             ballot went three times, they were showing: Here's ballot No
             1.   Here it is a second time, third time, next ballot.

             I mean, look. Brad. We have a new tape that we're going to
             release. It's devastating. And by the way, that one event, that
             one event is much more than the              11,000   votes that we're
             talking about. It's, you know, that one event was a disaster.
             And it's just, you know, but it was, it was something, it can't
             be disputed. And again, we have a version that you haven't
             seen, but it's magnified. It's magnified, and you can see
             eve1ything. For some reason, they put it in three times, each
             ballot, and I don't know why. I don't know why three times.
             Why not five times, right? Go al1ead.

             Raffensperger:           You're talking about the State Farm video.
             And I think it's extremely unfortunate that Rudy Giuliani or
             his ueoule. thev sliced and diced that video and took it out of


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             Raffensperger:          You're talking about the State Farm video.
 Home        And I think it's extremely unfortunate that Rudy Giuliani or
             his people, they sliced and diced that video and took it out of
  c!J
 Share
             context. The next day, we brought in WSB-TV, and we let
             them show, see the full run of tape, and what you'll see, the
  p          events that transpired are nowhere near what was projected
  S.Sk

             by, you know -

             Trump: But where were the poll watchers, Brad? There were
             no poll watchers there. There were no Democrats or
             Republicans. There was no security there.

             It was late in the evening, late in the, early in the morning,
             and there was nobody else in the room. Where were the poll
             watchers, and why did they say a water main broke, which
             they did and which was reported in the newspapers? They
             said they left. They ran out because of a water main break,
             and there was no water main. There was nothing. There was
             no break. There was no water main break. But we're, if you
             take out everything, where were the Republican poll
             watchers, even where were the Democrat pollwatchers,
             because there were none.

             And then you say, well, they left their station, you know, if
             you look at the tape, and this was, this was reviewed by
             professional police and detectives and other people, when
             they left in a rush, everybody left in a rush because of the
             water main, but eve1ybody left in a rush. These people left
             their station.

             When they came back, they didn't go to their station. They
             went to the apron, wrapped around the table, under which
             were thousands and thousands of ballots in a box that was
             not an official or a sealed box. And then they took those. They
             went back to a different station. So if they would have come


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             were thousands and thousands of ballots in a box that was

 Home
             not an official or a sealed box. And then they took those. They
             went back to a different station. So if they would have come
  c!J
 Share
             back, they would have walked to their station, and they would
             have continued to work But they couldn't do even that
  p          because that's illegal, because they had no Republican
  S.Sk
             pollwatchers. And remember, her reputation is - she's
             known all over the Internet, Brad. She's known all over.

             I'm telling you, "Where's [name] "was one of the hot items
             ... [name] They knew her. "v\There's[name]?" So Brad, there
             can be no justification for that. And I, you know, I give
             eve1ybody the benefit of the doubt. But that was - and Brad,
             why did they put the votes in three times? You know, they put
             'em in three times.

             Raffensperger:          Mr. President, they did not put that. We
             did an audit of that, and we proved conclusively that they
             were not scanned three times.

             Trump: ·where was eve1ybody else at that late time in the
             morning? Where was eve1ybody? Where were the
             Republicans? v\Therewere the security guards? Were the
             people that were there just a little while before when
             eve1yone ran out of the room. How come we had no security
             in the room. v\Thydid they run to the bottom of the table?
             Why do they run there and just open the skirt and rip out the
             votes. I mean, Brad. And they were sitting there, I think for
             five hours or something like that, the votes.

             Raffensperger:          Mr. President, we'll send you the link from
             WSB.

             Truntp: I don't care about the link I don't need it. Brad, I
             have a much better -



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             Truntp: I don't care about the link. I don't need it. Brad, I
 Home
             have a much better -

  c!J
 Share       Mitchell: I will tell you. I've seen the tape. The full tape. So
             has Alex. We've watched it. And what we saw and what we've
  p
  S.Sk       confirmed in the timing is that they made everybody leave -
             we have sworn affidavits saying that. And then they began to
             process ballots. And our estimate is that there were roughly
             18,000      ballots. We don't know that. If you know that ...

             Truntp: It was        18,000    ballots, but they used each one three
             times.

             Mitchell: Well, I don't know about that.

             Trump: I do think we had ours magnified out.

             Mitchell: I've watched the entire tape.

             Trump: Nobody can make a case for that, Brad. Nobody. I
             mean, look, you'd have to be a child to think anything other
             than that. Just a child.

             Mitchell: How many ballots, Mr. Secretary, are you saying
             were processed then?

             Raffensperger:          We had GBI ... investigate that.

             Germany: We had our - this is Ryan Germany. We had our
             law enforcement officers talk to everyone who was, who was
             there after that event came to light. GBI was with them as
             well as FBI agents.

             Trump: Well, there's no way they could - then they're
             incompetent. They're either dishonest or incompetent, okay?




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             Trump: Well, there's no way they could - then they're
  c;:i       incompetent. They're either dishonest or incompetent, okay?
 Home


             Mitchell: Well, what did they find?
  c!J
 Share

             Truntp: There's only two answers, dishonesty or
  P          incompetence. There's just no way. Look. There's no way.
  S.Sk
             And on the other thing, I said too, there is no way. I mean,
             there's no way that these things could have been, you know,
             you have all these different people that voted, but they don't
             live in Georgia anymore. What was that number, Cleta? That
             was a pretty good number, too.

             Mitchell: The number who have registered out of state after
             they moved from Georgia. And so they had a date when they
             moved from Georgia, they registered to vote out of state, and
             then it's like 4,500, I don't have that number right in front of
             me.

             Truntp: And then they came back in, and they voted.

             Mitchell: And voted. Yeah.

             Truntp: I thought that was a large number, though. It was in
             the 20s.

             Germany: We've been going through each of those as well,
             and those numbers that we got, that Ms. Mitchell was just
             saying, they're not accurate. Eve1y one we've been through
             are people that lived in Georgia, moved to a different state,
             but then moved back to Georgia legitimately. And in many
             cases -

             Truntp: How may people do that? They moved out, and then
             they said, "Ah, to hell with it, I'll move back." You know, it
             doesn't sound like a very normal ... you mean, they moved




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             they said, "Ah, to hell with it, I'll move back." You know, it
 Home        doesn't sound like a very normal ... you mean, they moved
             out, and what, they missed it so much that they wanted to
  c!J        move back in? It's crazy.
 Share



  p          Germany: They moved back in years ago. This was not like
  S.Sk
             something just before the election. So there's something
             about that data that, it's just not accurate.

             Truntp: Well, I don't know, all I know is that it is certified.
             And they moved out of Georgia, and they voted. It didn't say
             they moved back in, Cleta, did it?

             [Fact-checking Trump's call to the Georgia secretary of
             state]

             Mitchell: No, but I mean, we're looking at the voter
             registration. Again, if you have additional records, we've been
             asking for that, but you haven't shared any of that with us.
             You just keep saying you investigated the allegations.

             Trump: Cleta, a lot of it you don't need to be shared. I mean,
             to be honest, they should share it. They should share it
             because you want to get to an honest election.

             I won this election by hundreds of thousands of votes. There's
             no way I lost Georgia. There's no way. We won by hundreds
             of thousands of votes. I'm just going by small numbers, when
             you add them up, they're many times the                 11,000.     But I won
             that state by hundreds of thousands of votes.

             Do you think it's possible that they shredded ballots in Fulton
             County? Because that's what the rumor is. And also that
             Dominion took out machines. That Dominion is really
             moving fast to get rid of their, uh, machine1y.




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             Dominion took out machines. That Dominion is really
 Home        moving fast to get rid of their, uh, machine1y.

  c!J
 Share
             Do you know anything about that? Because that's illegal,
             right?
  p
  s.sk       Germany: This is Ryan Germany. No, Dominion has not
             moved any machine1y out of Fulton County.

             Trump: But have they moved the inner parts of the
             machines and replaced them with other parts?

             Germany: No.

             Truntp: Are you sure, Ryan?

             Germany: I'm sure. I'm sure, Mr. President.

             Truntp: v\Thatabout, what about the ballots. The shredding
             of the ballots. Have they been shredding ballots?

             Germany: The only investigation that we have into that -
             they have not been shredding any ballots. There was an issue
             in Cobb County where they were doing normal office
             shredding, getting rid of old stuff, and we investigated that.
             But this stuff from, you know, from you know past elections.

             Trump: It doesn't pass the smell test because we hear
             they're shredding thousands and thousands of ballots, and
             now what they're saying, "Oh, we're just cleaning up the
             office."You know.

             Raffensperger:          Mr. President, the problem you have with
             social media, they - people can say anything.

             Trump: Oh this isn't social media. This is Trump media. It's
             not social media. It's really not; it's not social media. I don't


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  (;)        Trump: Oh this isn't social media. This is Trump media. It's
 Home
             not social media. It's really not; it's not social media. I don't
  c!J        care about social media. I couldn't care less. Social media is
 Share
             Big Tech. Big Tech is on your side, you know. I don't even
  p          know why you have a side because you should want to have
  S.Sk
             an accurate election. And you're a Republican.

             Raffensperger:          We believe that we do have an accurate
             election.

             Trump: No, no you don't. No, no you don't. You don't have.
             Not even close. You're off by hundreds of thousands of votes.
             And just on the small numbers, you're off on these numbers,
             and these numbers can't be just - well, why wont? - Okay.
             So you sent us into Cobb County for signature verification,
             right? You sent us into Cobb County, which we didn't want to
             go into. And you said it would be open to the public. So we
             had our expe1ts there, they weren't allowed into the room.
             But we didn't want Cobb County. We wanted Fulton County.
             And you wouldn't give it to us. Now, why aren't we doing
             signature - and why can't it be open to the public?

             And why can't we have professionals do it instead of rank
             amateurs who will never find anything and don't want to find
             anything? They don't want to find, you know they don't want
             to find anything. Someday you'll tell me the reason why,
             because I don't understand your reasoning, but someday
             you'll tell me the reason why. But why don't you want to find?

             Germany: Mr. President, we chose Cobb County-

             Trump: v\Thydon't you want to find ... What?

             Germany: Sony, go ahead.




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             Trump: v\Thydon't you want to find ... What?


 Home
             Germany: Sony, go ahead.


  c!J        Trump: So why did you do Cobb County? We didn't even
 Share
             request - we requested Fulton County, not Cobb County. Go
  p          ahead, please. Go ahead.
  S.Sk


             Germany: We chose Cobb County because that was the only
             county where there's been any evidence submitted that the
             signature verification was not properly done.

             Trump: No, but I told you. We're not, we're not saying that.

             Mitchell: We did say that.

             Trump: Fulton County. Look. Stacey, in my opinion, Stacey
             is as dishonest as they come. She has outplayed you ... at
             eve1ything. She got you to sign a totally unconstitutional
             agreement, which is a disastrous agreement. You can't check
             signatures. I can't imagine you're allowed to do harvesting, I
             guess, in that agreement. That agreement is a disaster for this
             countly. But she got you somehow to sign that thing, and she
             has outsmarted you at eve1y step.

             And I hate to imagine what's going to happen on Monday or
             Tuesday, but it's ve1y sca1y to people. You know, when the
             ballots flow in out of nowhere. It's ve1y sca1y to people. That
             consent decree is a disaster. It's a disaster. A ve1y good
             lawyer who examined it said they've never seen anything like
             it.

             Raffensperger:          Harvesting is still illegal in the state of
             Georgia. And that settlement agreement did not change that
             one iota.

             Truntp: It's not a settlement agreement, it's a consent



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             one iota.

 Home
             Truntp: It's not a settlement agreement, it's a consent

  c!J        decree. It even says consent decree on it, doesn't it? It uses
 Share
             the term consent decree. It doesn't say settlement agreement.
  p          It's a consent decree. It's a disaster.
  S.Sk

             Raffensperger:          It's a settlement agreement.

             Trump: ·what's written on top ofit?

             Raffensperger:          Ryan?

             Germany: I don't have it in front of me, but it was not
             entered by the court, it's not a comt order.

             Trump: But Ryan, it's called a consent decree, is that right?
             On the paper. Is that right?

             Germany: I don't. I don't. I don't believe so, but I don't have
             it in front of me.

             [The Trwnp-Raffensperger call was big news - unless you
             were following conservative media]

             Trump: Okay, whatever, it's a disaster. It's a disaster. Look.
             Here's the problem. We can go through signature
             verification, and we'll find hundreds of thousands of
             signatures, if you let us do it. And the only way you can do it,
             as you know, is to go to the past. But you didn't do that in
             Cobb County. You just looked at one page compared to
             another. The only way you can do a signature verification is
             go from the one that signed it on November whatever.
             Recently. And compare it to two years ago, four years ago, six
             years ago, you know, or even one. And you'll find that you
             have many different signah1res. But in Fulton, where they



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             Recently. And compare it to two years ago, four years ago, six
             years ago, you know, or even one. And you'll find that you
 Home        have many different signah1res. But in Fulton, where they
             dumped ballots, you will find that you have many that aren't
  c!J
 Share       even signed and you have many that are forgeries.

  p          Okay, you know that. You know that. You have no doubt
  S.Sk
             about that. And you will find you will be at 11,779within
             minutes because Fulton County is totally corrupt, and so is
             she totally corrupt.

             And they're going around playing you and laughing at you
             behind your back, Brad, whether you know it or not, they're
             laughing at you. And you've taken a state that's a Republican
             state, and you've made it almost impossible for a Republican
             to win because of cheating, because they cheated like
             nobody's ever cheated before. And I don't care how long it
             takes me, you know, we're going to have other states coming
             fo1ward - pretty good.

             But I won't ... this is never ... this is ... We have some
             incredible talent said they've never seen anything ... Now the
             problem is they need more time for the big numbers. But
             they're very substantial numbers. But I think you're going to
             find that they - by the way, a little information - I think
             you're going to find that they are shredding ballots because
             they have to get rid of the ballots because the ballots are
             unsigned. The ballots are corrupt, and they're brand new, and
             they don't have seals, and there's a whole thing with the
             ballots. But the ballots are corrupt.

             And you are going to find that they are - which is totally
             illegal - it is more illegal for you than it is for them because,
             you know, what they did and you're not reporting it. That's a
             criminal, that's a criminal offense. And you can't let that



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             you know, what they did and you're not reporting it. That's a
 Home        criminal, that's a criminal offense. And you can't let that
             happen. That's a big risk to you and to Ryan, your la\.vyer.
  c!J
 Share       And that's a big risk. But they are shredding ballots, in my
             opinion, based on what I've heard. And they are removing
  p
  S.Sk
             machine1y, and they're moving it as fast as they can, both of
             which are criminal finds. And you can't let it happen, and you
             are letting it happen. You know, I mean, I'm notifying you
             that you're letting it happen. So look. All I want to do is this. I
             just want to find 11,780 votes, which is one more than we
             have because we won the state.

             And flipping the state is a great testament to our countly
             because, you know, this is - it's a testament that they can
             admit to a mistake or whatever you want to call it. If it was a
             mistake, I don't know. A lot of people think it wasn't a
             mistake. It was much more criminal than that. But it's a big
             problem in Georgia, and it's not a problem that's going away.
             I mean, you know, it's not a problem that's going away.

             Germany: This is Ryan. We're looking into eve1y one of
             those things that you mentioned.

             Truntp: Good. But if you find it, you've got to say it, Ryan.

             Germany: ... Let me tell you what we are seeing. v\That
             we're seeing is not at all what you're describing. These are
             investigators from our office, these are investigators from
             GBI, and they're looking, and they're good. And that's not
             what they're seeing. And we'll keep looking, at all these
             things.

             Trump: Well, you better check on the ballots because they
             are shredding ballots, Ryan. I'm just telling you, Ryan.
             They're shredding ballots. And you should look at that ve1y



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             Trump: Well, you better check on the ballots because they
  (;)        are shredding ballots, Ryan. I'm just telling you, Ryan.
 Home
             They're shredding ballots. And you should look at that very
  c!J        carefully. Because that's so illegal. You know, you may not
 Share
             even believe it because it's so bad. But they're shredding
  p          ballots because they think we're going to eventually get there
  S.Sk
             ... because we'll eventually get into Fulton. In my opinion,
             it's never too late .... So, that's the story. Look, we need only
             11,000         votes. We have are far more than that as it stands
             now. We'll have more and more. And ... do you have
             provisional ballots at all, Brad? Provisional ballots?

             Raffensperger:                     Provisional ballots are allowed by state law.

             Trump: Sure, but I mean, are they counted, or did you just
             hold them back because they, you know, in other words, how
             many provisional ballots do you have in the state?

             Raffensperger:                     We'll get you that number.

             Trump: Because most of them are made out to the name
             Trump. Because these are people that were scammed when
             they came in. And we have thousands of people that have
             testified or that want to testify. When they came in, they were
             proudly going to vote on November 3. And they were told,
             'Tm sony, you've already been voted for, you've already
             voted." The women, men sta1ted screaming, "No. I proudly
             voted till November 3." They said, 'Tm sony, but you've
             already been voted for, and you have a ballot." And these
             people are beside themselves. So they went out, and they
             filled in a provisional ballot, putting the name Trump on it.

             And what about that batch of milita1y ballots that came in.
             And even though I won the milita1y by a lot, it was                                          100

             percent Trump. I mean                          100   percent Eiden. Do you know
             _, ____   .&.Ll--LO"\   A 1--·--    --·-----     .£1.-11.L-   ••••.•   ! ..   T.a..1.!   .• 1.!.&.   •.••   -L.




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             And what about that batch of milita1y ballots that came in.
             And even though I won the milita1y by a lot, it was                 100
 Home        percent Trump. I mean           100   percent Eiden. Do you know
             about that? A large group of ballots came in, I think it was to
  c!J
 Share       Fulton County, and they just happened to be                 100   percent for
             Trump - for Eiden - even though Trump won the milita1y
  p
  S.Sk       by a lot, you know, a tremendous amount. But these ballots
             were   100    percent for Eiden. And do you know about that? A
             ve1y substantial number came in, all for Eiden. Does anybody
             know about it?

             Mitchell: I know about it, but -

             Trump: Okay, Cleta, I'm not asking you, Cleta, honestly. I'm
             asking Brad. Do you know about the military ballots that we
             have confirmed now. Do you know about the milita1y ballots
             that came in that were         100    percent, I mean     100   percent, for
             Eiden. Do you know about that?

             Germany: I don't know about that. I do know that we have,
             when milita1y ballots come in, it's not just milita1y, it's also
             milita1y and overseas citizens. The military part of that does
             generally go Republican. The overseas citizen part of it
             generally goes ve1y Democrat. This was a mix of 'em.

             Trump: No, but this was. That's okay. But I got like 78
             percent of the militaiy. These ballots were all for ... They
             didn't tell me overseas. Could be overseas, too, but I get votes
             overseas, too, Ryan, in all fairness. No they came in, a large
             batch came in, and it was, quote,            100   percent for Eiden. And
             that is criminal. You know, that's criminal. Okay. That's
             another criminal, that's another of the many criminal events,
             many criminal events here.

             I don't know, look, Brad. I got to get ... I have to find                 12,000

             votes, and I have them times a lot. And therefore, I won the


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             I don't know, look, Brad. I got to get ... I have to find                12,000
 Home

             votes, and I have them times a lot. And therefore, I won the
             state. That's before we go to the next step, which is in the
 Share

             process of right now. You know, and I watched you this
  P          morning, and you said, well, there was no criminality.
  S.Sk


             But I mean all of this stuff is ve1y dangerous stuff. When you
             talk about no criminality, I think it's ve1y dangerous for you
             to say that.

             I just, I just don't know why you don't want to have the votes
             counted as they are. Like even you when you went and did
             that check And I was surprised because, you know ... And
             we found a few thousand votes that were against me. I was
             actually surprised because the way that check was done, all
             you're doing, you know, recertifying e.>.istingvotes and, you
             know, and you were given votes and you just counted them
             up, and you still found        3,000     that were bad. So that was s01t
             of surprising that it came down to three or five, I don't know.
             Still a lot of votes. But you have to go back to check from past
             years with respect to signatures. And if you check with Fulton
             County, you'll have hundreds of thousands because they
             dumped ballots into Fulton County and the other county next
             to it.

             So what are we going to do here, folks? I only need                  11,000

             votes. Fellas, I need      11,000      votes. Give me a break. You know,
             we have that in spades already. Or we can keep it going, but
             that's not fair to the voters of Georgia because they're going
             to see what happened, and they're going to see what
             happened. I mean, I'll, I'll take on anybody you want with
             regard to [name] and her lovely daughter, a ve1y lovely young
             lady, I'm sure. But, but [name] ... I will take on anybody you
             w~nt. Ancl thP. minimum.            thP-rP-WP.l'P.18.000   h~llots. lmt thP.v


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             regard to [name] and her lovely daughter, a ve1y lovely young
 Home        lady, I'm sure. But, but [name] ... I will take on anybody you
             want. And the minimum, there were                18,000      ballots, but they
  c!J
 Share       used them three times. So that's, you know, a lot of votes.
             And they were all to Eiden, by the way, that's the other thing
  p          we didn't say. You know, [name], the one thing I forgot to
  S.Sk

             say, which was the most important. You know that eve1y
             single ballot she did went to Eiden. You know that, right? Do
             you know that, by the way, Brad?

             Eve1y single ballot that she did through the machines at
             early, early in the morning went to Eiden. Did you know that,
             Ryan?

             Germany: That's not accurate, Mr. President.

             Truntp: Huh. What is accurate?

             Germany: The numbers that we are showing are accurate.

             Truntp: No, about [name] . About early in the morning,
             Ryan. Where the woman took, you know, when the whole
             gang took the stuff from under the table, right? Do you know,
             do you know who those ballots, do you know who they were
             made out to, do you know who they were voting for?

             Germany: No, not specifically.

             Truntp: Did you ever check?

             Germany: We did what I described to you earlier -

             Truntp: No no no - did you ever check the ballots that were
             scanned by [name], a known political operative, balloteer?
             Did ever check who those votes were for?

             Germanv:        WP. lookf'.o into    th::it sih1::ition th::it VOll Of'.Sr.rihf'.o.


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             scanned by [name], a known political operative, balloteer?
             Did ever check who those votes were for?
 Home

             Germany: We looked into that situation that you described.
  c!J
 Share
             Truntp: No, they were           100   percent for Eiden.       100   percent.
  p          There wasn't a Trump vote in the whole group. v\Thydon't
  S.Sk
             you want to find this, Ryan? What's wrong with you? I heard
             your lawyer is ve1y difficult, actually, but I'm sure you're a
             good lawyer. You have a nice last name.

             But, but I'm just curious, why wouldn't, why do you keep
             fighting this thing? It just doesn't make sense. We're way
             over the 17,779, right? We're way over that number, and just
             if you took just [name], we're over that number by five, five
             or six times when you multiply that times three.

             And eve1y single ballot went to Eiden, and you didn't know
             that, but now you know it. So tell me, Brad, what are we
             going to do? We won the election, and it's not fair to take it
             away from us like this. And it's going to be ve1y costly in
             many ways. And I think you have to say that you're going to
             reexamine it, and you can reexamine it, but reexamine it with
             people that want to find answers, not people that don't want
             to find answers. For instance, I'm hearing Ryan that he's
             probably, I'm sure a great lawyer and eve1ything, but he's
             making statements about those ballots that he doesn't know.
             But he's making them with such - he did make them with
             surety. But now I think he's less sure because the answer is,
             they all went to Eiden, and that alone wins us the election by
             a lot. You know, so.

             Raffensperger:          Mr. President, you have people that submit
             information, and we have our people that submit
             information. And then it comes before the comt, and the
             court then has to make a determination. We have to stand by


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             information, and we have our people that submit

 Home
             information. And then it comes before the comt, and the
             court then has to make a determination. We have to stand by
  c!J        our numbers. We believe our numbers are right.
 Share



  p          Trump: v\Thydo you say that, though? I don't know. I mean,
  S.Sk
             sure, we can play this game with the courts, but why do you
             say that? First of all, they don't even assign us a judge. They
             don't even assign us a judge. But why wouldn't you ... Hey
             Brad, why wouldn't you want to check out [name] ? And why
             wouldn't you want to say, hey, if in fact, President Trump is
             right about that, then he wins the state of Georgia, just that
             one incident alone without going through hundreds of
             thousands of dropped ballots. You just say, you stick by, I
             mean I've been watching you, you know, you don't care about
             anything. "Your numbers are right." But your numbers aren't
             right. They're really wrong, and they're really wrong, Brad.
             And I know this phone call is going nowhere other than,
             other than ultimately, you know - Look, ultimately, I win,
             okay? Because you guys are so wrong. And you treated this.
             You treated the population of Georgia so badly. You, between
             you and your governor, who is down at                21,   he was down       21

             points. And like a schmuck, I endorsed him, and he got
             elected, but I will tell you, he is a disaster.

             The people are so ang1y in Georgia, I can't imagine he's ever
             getting elected again, I'll tell you that much right now. But
             why wouldn't you want to find the right answer, Brad, instead
             of keep saying that the numbers are right? 'Cause those
             numbers are so wrong?

             Mitchell: Mr. Secretary, Mr. President, one of the things
             that we have been, Alex can talk about this, we talked about
             it, and I don't know whether the information has been



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             that we have been, Alex can talk about this, we talked about
 Home        it, and I don't know whether the information has been
             conveyed to your office, but I think what the president is
  c!J
 Share       saying, and what we've been trying to do is to say, look, the
             court is not acting on our petition. They haven't even
  p
  S.Sk
             assigned a judge. But the people of Georgia and the people of
             America have a right to know the answers. And you have data
             and records that we don't have access to.

             And you can keep telling us and making public statement that
             you investigated this and nothing to see here. But we don't
             know about that. All we know is what you tell us. What I
             don't understand is why wouldn't it be in everyone's best
             interest to try to get to the bottom, compare the numbers,
             you know, if you say, because ... to tly to be able to get to the
             truth because we don't have any way of confirming what
             you're telling us. You tell us that you had an investigation at
             the State Farm Arena. I don't have any report. I've never seen
             a report of investigation. I don't know that is. I've been pretty
             involved in this, and I don't know. And that's just one of 25
             categories. And it doesn't even. And as I, as the president
             said, we haven't even gotten into the Dominion issue. That's
             not pa1t of our case. It's not part of, we just didn't feel as
             though we had any to be able to develop -

             Trump: No, we do have a way, but I don't want to get into it.
             We found a way ... excuse me, but we don't need it because
             we're only down 11,000 votes, so we don't even need it. I
             personally think they're corrupt as hell. But we don't need
             that. All we have to do, Cleta, is find 11,000-plus votes. So we
             don't need that. I'm not looking to shake up the whole world.
             We won Georgia easily. We won it by hundreds of thousands
             of votes. But if you go by basic, simple numbers, we won it
             easily, easily. So we're not giving Dominion a pass on the



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             We won Georgia easily. We won it by hundreds of thousands
  (;)        of votes. But if you go by basic, simple numbers, we won it
 Home
             easily, easily. So we're not giving Dominion a pass on the
  c!J        record. We don't need Dominion because we have so many
 Share
             other votes that we don't need to prove it any more than we
  p          already have.
  S.Sk


             Hilbert: Mr. President and Cleta, this is Kurt Hilbert, ifI
             might inte1ject for a moment. Ryan, I would like to suggest
             that just four categories that have already been mentioned by
             the president that have actually hard numbers of 24,149 votes
             that were counted illegally. That in and of itself is sufficient to
             change the results or place the outcome in doubt. We would
             like to sit down with your office, and we can do it through
             purposes of compromise and just like this phone call, just to
             deal with that limited catego1y of votes. And if you are able to
             establish that our numbers are not accurate, then fine.
             However, we believe that they are accurate. We've had now
             three to four separate experts looking at these numbers.

             Trump: Certified accountants looked at them.

             Hilbert: Correct. And this is just based on USPS data and
             your own secreta1y of state data. So that's what we would
             entreat and ask you to do, to sit down with us in a
             compromise and settlements proceeding and actually go
             through the registered voter IDs and the registrations. And if
             you can convince us that 24,149 is inaccurate, then fine. But
             we tend to believe that is, you know, obviously more than
             11,779.That's sufficient to change the results entirely in and
             of itself. So what would you say to that, Mr. Germany?

             Germany: I'm happy to get with our lawyers, and we'll set
             that up. That number is not accurate. And I think we can
             show you, for all the ones we've looked at, why it's not. And



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             Germany: I'm happy to get with our lawyers, and we'll set
             that up. That number is not accurate. And I think we can
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             show you, for all the ones we've looked at, why it's not. And

  c!J        so if that would be helpful, I'm happy to get with our lawyers
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             and set that up with you guys.
  p
  S.Sk       Truntp: Well, let me ask you, Kmt, you think that is an
             accurate number. That was based on the information given to
             you by the secreta1y of state's department, right?

             Hilbert: That is correct. That information is the minimum,
             most conservative data based upon the USPS data and the
             secreta1y of state's office data that has been made publicly
             available. We do not have the internal numbers from the
             secreta1y of state. Yet we have asked for it six times. I sent a
             letter over to ... several times requesting this information,
             and it's been rebuffed every single time. So it stands to reason
             that if the information is not forthcoming, there's something
             to hide. That's the problem that we have.

             Germany: Well, that's not the case, sir. There are things
             that you guys are entitled to get. And there's things that
             under law, we are not allowed to give out.

             Trump: Well, you have to. Well, under law, you're not
             allowed to give faulty election results, okay? You're not
             allowed to do that. And that's what you done. This is a faulty
             election result. And honestly, this should go ve1y fast. You
             should meet tomorrow because you have a big election
             coming up, and because of what you've done to the president
             - you know, the people of Georgia know that this was a scam
             - and because of what you've done to the president, a lot of
             people aren't going out to vote. And a lot of Republicans are
             going to vote negative because they hate what you did to the
             president. Okay? They hate it. And they're going to vote. And



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             people aren't going out to vote. And a lot of Republicans are
             going to vote negative because they hate what you did to the
 Home
             president. Okay? They hate it. And they're going to vote. And
             you would be respected. Really respected, if this thing could
  c!J
 Share
             be straightened out before the election. You have a big
             election coming up on Tuesday. And I think that it is really is
  p
  S.Sk       important that you meet tomorrow and work out on these
             numbers. Because I know, Brad, that if you think we're right,
             I think you're going to say, and I'm not looking to blame
             anybody, I'm just saying, you know, and, you know, under
             new counts, and under new views, of the election results, we
             won the election. You know? It's ve1y simple. We won the
             election. As the governors of major states and the
             surrounding states said, there is no way you lost Georgia. As
             the Georgia politicians say, there is no way you lost Georgia.
             Nobody. Eve1yone knows I won it by hundreds of thousands
             of votes. But I'll tell you it's going to have a big impact on
             Tuesday if you guys don't get this thing straightened out fast.

             Meadows: Mr. President, this is Mark It sounds like we've
             got two different sides agreeing that we can look at those
             areas, and I assume that we can do that within the next 24 to
             48 hours, to go ahead and get that reconciled so that we can
             look at the two claims and making sure that we get the access
             to the secreta1y of state's data to either validate or invalidate
             the claims that have been made. Is that correct?

             Germany: No, that's not what I said. I'm happy to have our
             lawyers sit down with Kurt and the lawyers on that side and
             explain to him, hey, here's, based on what we've looked at so
             far, here's how we know this is wrong, this is wrong, this is
             wrong, this is wrong, this is wrong.

             Meadows: So what you're saying, Ryan, let me let me make
             sure ... so what you're saying is you really don't want to give



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  (;)        Meadows: So what you're saying, Ryan, let me let me make
 Home
             sure ... so what you're saying is you really don't want to give

  c!J        access to the data. You just want to make another case on
 Share
             why the lawsuit is wrong?
  p
  S.Sk       Germany: I don't think we can give access to data that's
             protected by law. But we can sit down with them and say -

             Trump: But you're allowed to have a phony election? You're
             allowed to have a phony election, right?

             Germany: No, sir.

             Truntp: v\Thenare you going to do signature counts, when
             are you going to do signature verification on Fulton County,
             which you said you were going to do, and now all of a sudden,
             you're not doing it. When are you doing that?

             Germany: We are going to do that. We've announced -

             Hilbert: To get to this issue of the personal information and
             privacy issue, is it possible that the secreta1y of state could
             deputize the lawyers for the president so that we could access
             that information and private information without you having
             any kind of violation?

             Truntp: Well, I don't want to know who it is. You guys can
             do it ve1y confidentially. You can sign a confidentiality
             agreement. That's okay. I don't need to know names. But on
             this stuff that we're talking about, we got all that information
             from the secreta1y of state.

             Meadows: Yeah. So let me let me recommend, Ryan, if you
             and Kurt will get together, you know, when we get off of this
             phone call, if you could get together and work out a plan to
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             Meadows: Yeah. So let me let me recommend, Ryan, if you
             and Kurt will get together, you know, when we get off of this
 Home        phone call, if you could get together and work out a plan to
             address some of what we've got with your attorneys where we
  c!J
 Share       can we can actually look at the data. For example, Mr.
             Secretaiy, I can you say they were only two dead people who
  p
  S.Sk       would vote. I can promise you there are more than that. And
             that may be what your investigation shows, but I can promise
             you there are more than that. But at the same time, I think
             it's important that we go ahead and move expeditiously to tly
             to do this and resolve it as quickly as we possibly can. And if
             that's the good next step. Hopefully we can, we can finish this
             phone call and go ahead and agree that the two of you will get
             together immediately.

             Trump: Well, why don't my lawyers show you where you got
             the information. It will show the secreta1y of state, and you
             don't even have to look at any names. We don't want names.
             We don't care. But we got that information from you. And
             Stacey Abrams is laughing about you. She's going around
             saying these guys are dumber than a rock. What she's done to
             this party is unbelievable, I tell you. And I only ran against
             her once. And that was with a guy named Brian Kemp, and I
             beat her. And if I didn't run, Brian wouldn't have had even a
             shot, either in the general or in the prima1y. He was dead,
             dead as a doornail. He never thought he had a shot at either
             one of them. v\Thata schmuck I was. But that's the way it is.
             That's the way it is. I would like you ... for the attorneys ...
             I'd like you to perhaps meet with Ryan, ideally tomorrow,
             because I think we should come to a resolution of this before
             the election. Otherwise you're going to have people just not
             voting. They don't want to vote. They hate the state, they hate
             the governor, and they hate the secreta1y of state. I will tell
             you that right now. The only people that like you are people
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             the governor, and they hate the secreta1y of state. I will tell
 Home        you that right now. The only people that like you are people
             that will never vote for you. You know that, Brad, right? They
  c!J
 Share       like you, you know, they like you. They can't believe what
             they found. They want more people like you. So, look, can you
  p          get together tomorrow? And, Brad, we just want the truth.
  S.Sk

             It's simple.

             And eve1yone's going to look ve1y good if the truth comes out.
             It's okay. It takes a little while, but let the truth come out.
             And the real truth is, I won by 400,000              votes. At least. That's
             the real truth. But we don't need 400,000                votes. We need less
             than 2,000      votes. And are you guys able to meet tomorrow,
             Ryan?

             Germany: I'll get with Chris, the lawyer who's representing
             us in the case, and see when he can get together with Kurt.

             Raffensperger:          Ryan will be in touch with the other
             attorney on this call, Mr. Meadows. Thank you, President
             Trump, for your time.

             Truntp: Okay, thank you, Brad. Thank you, Ryan. Thank
             you. Thank you, eve1ybody. Thank you very much. Bye.

             An earlier version of the full audio ofTrwnp's call
             inadvertently left in a reference to an individual about
             whom he has made unsubstantiated claims. It has since been
             updated.




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             n        Dan Sizemore              2 minutes ago

                      Raffensperger: Mr. President, the problem you have with social
                      media, they - people can say anything.
                      Trump: Oh this isn't social media. This is Trump media.


                      Me: LOL

                      Like ,.        Reply.._   Link<'->   Report ,-




                      WonderfulWorld               5 minutes ago

                      Respect to Raffensberg and Germany for never screaming 'Oh,
                     jeez, just shut up!'
                      My brain hurts from reading Trump's baffling BS... having to
                      listen to it delivered in that "glue pouring from a keg" voice would
                      send me round the twist.

                      Like ,.        Reply.._   Link<'->   Report ,-




             n        Bluewaterdream
                      The real story is here:
                                                    5 minutes ago !Edited/




                      You don't need much of a number because the number that in
                      theory I lost by, the margin would be 11,779. But you also have a
                      substantial numbers of people, thousands and thousands, who
                      went to the voting place on November 3, were told they couldn't
                      vote, were told they couldn't vote because a ballot had been put
                      on their name. And you know that's very, very, very, very sad. We
                      had, I believe it's about 4,502 voters who voted but who weren't
                      on the voter registration list, so it's 4,502 who voted, but they
                      weren't on the voter registration roll, which they had to be. You




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